      Case 1:21-cv-00670-KWR-DLM Document 68 Filed 03/28/24 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

MATTHEW WIGGINS,

       Plaintiff,

v.                                                                  No. 1:21-cv-0670 KWR/DLM

T. HATCH, Warden, et al.,

       Defendants.

                                                Consolidated with No. 1:22-cv-0279-KWR/DLM

MATTHEW WIGGINS,

               Plaintiff,

v.

FNU LNU, et al.,

               Defendants.

                                       ORDER TO SEAL

       THIS MATTER comes before the Court on Defendant’s Motion to Seal. (Doc. 67.)

Having considered the motion, the Court finds it should be GRANTED. The Court notes, however,

that to the extent the Defendants rely on sealed documents in a future dispositive motion, Plaintiff

will be entitled to review them, and the Court will have to determine the most appropriate method

for him to do so.

       IS IT THEREFORE ORDERED that the following NMCD documents and policies

pertinent to this matter are sealed:

       1. NMCD-0001 – NMCD-0293;
      Case 1:21-cv-00670-KWR-DLM Document 68 Filed 03/28/24 Page 2 of 2




       2. Defendants may redact from the public and Mr. Wiggins references to information in

           the documents that are the subject of this Order from the forthcoming Martinez Report;

           and

       3. Defendants may file under seal information protected under HIPAA.

       IT IS FURTHER ORDERED that access to the administrative record shall be limited to

the Court and the case participants only.

       IT IS SO ORDERED.

                                            _______________________________________
                                            DAMIAN L. MARTINEZ
                                            UNITED STATES MAGISTRATE JUDGE
